
711 N.W.2d 362 (2006)
DETROIT BUILDING AUTHORITY, Plaintiff/Cross Defendant-Appellant, and
City Of Detroit, Intervening Plaintiff/Counter Plaintiff/Cross Plaintiff-Appellee,
v.
WAYNE COUNTY TREASURER, Defendant/Cross Defendant/Counter Defendant-Appellee, and
Michigan Financial Investments, L.L.C., Intervening Defendant/Cross Plaintiff/Counter Defendant-Appellee.
Docket No. 129745, COA No. 253479.
Supreme Court of Michigan.
March 27, 2006.
On order of the Court, the application for leave to appeal the July 5, 2005 judgment of the Court of Appeals is considered and, it appearing to this Court that the case of Wayne County Treasurer v. Perfecting Church (In re Petition by Treasurer of Wayne County for Foreclosure) (Docket No. 129341) is pending on appeal before this Court and that the decision in that case may resolve an issue raised in the present application for leave to appeal, we ORDER that the application be held in ABEYANCE pending the decision in that case.
